           Case 1:08-cr-00224-LJO-DLB Document 623 Filed 10/18/10 Page 1 of 3


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 5
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 8
                                    UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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12                                                   )   1:08-cr-00224OWW
     UNITED STATES OF AMERICA ,
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13                                                   )
                    Plaintiff,
                                                     )   STIPULATION AND ORDER TO EXTEND
14                                                   )   TIME FOR FILING OF MOTION FOR NEW
            vs.
                                                     )   TRIAL, FOR DIRECTED VERDICT OF
15                                                   )   ACQUITTAL, AND FOR SENTENCING
     STEPHEN J. JOHNSON, ET AL.,
                                                     )
16                                                   )
                    Defendants.
                                                     )
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            It is hereby stipulated by and between the parties hereto as follows:
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            On October 12, 2010, the court vacated the dates for filing and hearing motions for new
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     trial, for judgment of acquittal, and for sentencing in this matter, which were set for October 15,
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     2010 and November 29, 2010, respectively. At the present time, the lead prosecutor on the case
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     is out of the country and not available for consultation concerning new dates for the filing of the
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25   motions and for the hearings thereon. It is therefore requested by the parties that the parties be

26   allowed to consult within the next fourteen days regarding new dates and they file a subsequent
              Case 1:08-cr-00224-LJO-DLB Document 623 Filed 10/18/10 Page 2 of 3


 1   stipulation reflecting that agreement. Pursuant to this order, all rights of the defendants to file
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     such motions are preserved and nothing in this action shall impair those rights as they presently
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     exist.
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     DATE: October 15, 2010                                 Respectfully submitted,
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 7
                                                            /s/Carl M. Faller
                                                            CARL M. FALLER
 8                                                          Attorney for Defendant
                                                            STEPHEN JOHNSON
 9
                                                            /s/ John P. Balazs
10                                                           JOHN P. BALAZS
                                                            Attorney for Defendant
11
                                                            GARY ERMOIAN
12
                                                            /s/Laurel J. Montoya
13                                                          LAUREL J. MONTOYA
                                                            Attorney for the
14                                                          United States
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     ORDER:
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              Based on the above, and good cause appearing therefore, it is hereby ordered that the date
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     for filing motions for new trial and/or to set aside the guilty verdict, by defendants herein, is
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     extended beyond the current deadline of October 15, 2010 to a date to be determined by the
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     parties after additional consultation. This extension of time does not impair any existing rights to
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21   file said motions on the part of the defendants, and if they are filed within the new time schedule,

22   they will be considered timely filed.

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26   IT IS SO ORDERED.
                             Case 1:08-cr-00224-LJO-DLB Document 623 Filed 10/18/10 Page 3 of 3


 1
                           Dated:   October 15, 2010                 /s/ Oliver W. Wanger
 2   DEAC_Signature-END:
                                                              UNITED STATES DISTRICT JUDGE

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